          Case 2:99-cr-00010-WBS Document 72 Filed 02/26/08 Page 1 of 2


PROB 35            ORDER TERMINATING SUPERVISED RELEASE
                         PRIOR TO EXPIRATION DATE


                         UNITED STATES DISTRICT COURT
                                   FOR THE
                        EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                      )
                                              )
                          vs.                 )     Docket Number: 2:99CR00010-003
                                              )
JOSEPH EUGENE LACERO                          )
                                              )


On June 16, 1999, the above-named was placed on supervised release for a period of five
years. He has complied with the rules and regulations of supervision. It is accordingly
recommended that supervised release be discharged from supervision.

                                Respectfully submitted,


                                 /s/Glenn P. Simon
                                 GLENN P. SIMON
                           United States Probation Officer

Dated:       February 25, 2008
             Sacramento, California
             GPS/cp

REVIEWED BY:       /s/Kyriacos M. Simonidis
                   KYRIACOS M. SIMONIDIS
                   Supervising United States Probation Officer




                                                                                      Rev. 05/2006
                                                          EARLY TERMINATION ~ ORDER (PROB35).MRG
           Case 2:99-cr-00010-WBS Document 72 Filed 02/26/08 Page 2 of 2


Re:    Joseph Eugene LUCERO
       Docket Number: 2:99CR00010-003
       ORDER TERMINATING SUPERVISED RELEASE
       PRIOR TO EXPIRATION DATE




                                    ORDER OF COURT

It is ordered that the supervised releasee be discharged from supervised release, and that the
proceedings in the case be terminated.

Date: February 25, 2008




Attachment: Recommendation
cc:   United States Attorney's Office




                                                                                           Rev. 05/2006
                                                               EARLY TERMINATION ~ ORDER (PROB35).MRG
